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FILED
UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA .

CLERK, US DISTRICT COURT
SHANNON CHURCH, 4iDDLE DISTRICT OF FL
OCALA FLORIDA
Plaintiff, CASE NO.:3:1B-cxy. Y

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-VSs-
WESTLAKE SERVICES, LLC,

Defendant.
/

 

COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, SHANNON CHURCH, by and through the undersigned
counsel, and sues Defendant, WESTLAKE SERVICES, LLC, and in support thereof respectfully
alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”)
and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

INTRODUCTION

1. The TCPA was enacted to prevent companies like Defendant from invading
American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 §.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization, they wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
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subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F. 3d 1242, 1256 (11" Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robo-calls. The FCC received more than 215,000
TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers
Against Unwanted Robo-calls, Texts to Wireless Phones, Federal Communications Commission,
(May 27, 2015), http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-
333676A I pdf.

JURISDICTION AND VENUE

3. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)Gii). See
Mims v. Arrow Fin. Servs., LLC, §.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,
746 F.3d 1242, 1249 (11" Cir. 2014)

8. The alleged violations described herein occurred in Marion County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the
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judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.
FACTUAL ALLEGATIONS
9. Plaintiff is a natural person, and citizen of the State of Florida, residing in Marion

County, Florida

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

11. —- Plaintiff is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11" Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (1 1" Cir. 2014).

13. Defendant is a corporation which was formed in California with its principal place
of business located at 4751 Wilshire Blvd, #100, Los Angeles, CA 90010 and which conducts
business in the State of Florida through its registered agent, Corporate Creations Network located
at 11380 Prosperity Farms Road, #221E, Palm Beach Gardens, FL 33410.

14. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

15. Defendant is a “creditor” as defined in Florida Statute §559.55(5).

16. Defendant called Plaintiff on Plaintiff's cellular telephone approximately two
hundred (200) times in an attempt to collect a debt.

17. Upon receipt of the calls from defendant, Plaintiff's caller ID showed (including
but not limited to) the following telephone number: (904) 647-4563, (727) 205-7214, (904) 717-
7666, (904) 638-1666, (904) 647-4398, (727) 205-7181, (904) 647-4403, (888) 333-5662 and
when those number are called a prerecorded voice or agent answers and identifies the number as

belonging to Westlake Financial Services.
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18. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

19, Upon information and belief, some or all of the calls the Defendant made to
Plaintiff's cellular telephone number were made using an “automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a){1) (hereinafter
“autodialer calls”). Plaintiff will testify that she knew it was an autodialer because of the vast
number of calls she received and because she received prerecorded messages from Defendant.

20. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (352) ***-1428, and was the called party and recipient of Defendant’s calls.

21. | On several occasions over the last four (4) years Plaintiff instructed Defendant’s
agent(s) to stop calling her cellular telephone.

22. In or about February of 2018, Plaintiff received a call from Defendant. Plaintiff
answered the call, held the line, and was eventually connected to a live agent. Plaintiff instructed
Defendant’s agent/representative that she did not own the vehicle they were attempting to collect
on and therefor would not be making any payments. At that time, Plaintiff demanded Defendant
to stop calling her cellular telephone to which the agent informed her that the calls would
continue.

23. On the aforementioned call in February of 2018, Plaintiff revoked any express
consent Defendant may have believed they had for placement of telephone calls to Plaintiff's

cellular telephone number.
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24. Each subsequent call Defendant made to Plaintiff's aforementioned cellular
telephone number was knowing and willful and done so without the “express consent” of
Plaintiff.

25. Plaintiff's numerous conversations with Defendants agents/representatives over
the telephone wherein she demanded a cessation of calls were in vain as Defendant continued to
bombard her with automated calls unabated.

26. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days with such frequency as can be
reasonably expected to harass.

27. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as it did to Plaintiff's cellular telephone in
this case.

28. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in this case, with no
way for the consumer, Plaintiff, or Defendant, to remove the number.

29.  Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

30. Defendant has numerous other federal lawsuits pending against it alleging similar
violations as stated in this Complaint.

31. Defendant has numerous complaints across the country against it asserting that its
automatic telephone dialing system continues to call despite requested to stop.

32. Defendant has had numerous complaints from consumers across the country

against it asking to not be called; however, Defendant continues to call the consumers.
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33.  Defendant’s corporate policy provided no means for Plaintiff to have her number
removed from Defendant’s call list.

34. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

35. Nota single call placed by Defendant to Plaintiff were placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

36. Defendant willfully and knowingly violated the TCPA with respect to Plaintiff.

37. From each and every call placed without consent by Defendant to Plaintiff's
cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her
right of seclusion.

38. | From each and every call without express consent placed by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of occupation of her cellular telephone
line and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate
callers or outgoing calls while the telephone was ringing from Defendant’s calls.

39. From each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of her time.
For calls she answered, the time she spent on the call was unnecessary as she repeatedly asked
for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the
telephone and deal with missed call notifications and call logs that reflected the unwanted calls.
This also impaired the usefulness of these features of Plaintiff's cellular telephone, which are
designed to inform the user of important missed communications.

40. Each and every call placed without express consent by Defendant to Plaintiff's

cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls
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that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call
notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of
these features of Plaintiff's cellular telephone, which are designed to inform the user of
important missed communications.

41. Each and every call placed without express consent by Defendant to Plaintiff's
cellular telephone resulted in the injury of unnecessary expenditure of Plaintiffs cellular
telephone’s battery power.

42. Each and every call placed without express consent by Defendant to Plaintiff's
cellular telephone where a voice message was left which occupied space in Plaintiff's telephone
or network.

43. Each and every call placed without express consent by Defendant to Plaintiff's
cellular telephone resulted in the injury of a trespass to Plaintiff's chattel, namely her cellular
telephone and her cellular telephone services.

44. As a result of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affected in personal and individualized ways by distress, anger, frustration,
anguish, sleeplessness and appetite loss.

COUNTI
(Violation of the TCPA)

45. Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-four
(44) as if fully set forth herein.

46. Defendant willfully violated the TCPA with respect to Plaintiff, especially for
each of the auto-dialer calls made to Plaintiff's cellular telephone after Plaintiff notified

Defenant that she wished for the calls to stop.
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47. Defendant repeatedly placed non-emergency telephone calls to Plaintiff's cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiffs prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)Giii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against WESTLAKE SERVICES, LLC for statutory damages, punitive damages,
actual damages, treble damages, enjoinder from further violations of these parts and any other
such relief the court may deem just and proper.

COUNT HI
(Violation of the FCCPA)

48. Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-four
(44) as if fully set forth herein.

49. _ At all times relevant to this action Defendant is subject to and must abide by the
laws of the State of Florida, including Florida Statute § 559,72.

50. | Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his or her family with such frequency as can reasonably be
expected to harass the debtor or his or her family.

51. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of his or
her family. ©

52.  Defendant’s actions have directly and proximately resulted in Plaintiff's prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against WESTLAKE SERVICES, LLC for statutory damages, punitive damages,

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actual damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

any other such relief the court may deem just and proper.
Respectfully submitted,

/s/ Octavio Gomez
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